   Case 8:17-bk-14882-ES   Doc 1 Filed 12/20/17 Entered 12/20/17 10:20:44   Desc
                            Main Document    Page 1 of 4



Central             California
                                    7
Case 8:17-bk-14882-ES    Doc 1 Filed 12/20/17 Entered 12/20/17 10:20:44   Desc
                          Main Document    Page 2 of 4

     Progress Advocates Group, LLC
Case 8:17-bk-14882-ES   Doc 1 Filed 12/20/17 Entered 12/20/17 10:20:44   Desc
                         Main Document    Page 3 of 4
Case 8:17-bk-14882-ES    Doc 1 Filed 12/20/17 Entered 12/20/17 10:20:44          Desc
                          Main Document    Page 4 of 4

    Progress Advocates Group, LLC




                        /s/ Benjamin Carson                      12/1/2017



                        Benjamin Carson
                         Benjamin Carson Law Office

                        8837 Villa La Jolla Drive, #13105

                         La Jolla                           CA           92037


                        858-255-4529                        ben@benjamincarsonlaw.com


                        283611                              CA
